AO 450 (Rev. 5/85) Judgment in a Civil Case ⊗




                       United States District Court
                                       EASTERN DISTRICT OF WISCONSIN


                                                           JUDGMENT IN A CIVIL CASE
            GARY BRAME, JASON JAGER,
            and GLEN EVANS,
                     Plaintiffs

                         v.                                CASE NUMBER: 20-C-1775

            GENERAL MOTORS, LLC,
                   Defendant




           Jury Verdict. This action came before the Court for a trial by jury. The issues
            have been tried and the jury has rendered its verdict.

X           Decision by Court. This action came to trial or hearing before the Court. The
            issues have been tried or heard and a decision has been rendered.

      IT IS ORDERED AND ADJUDGED that the complaint and this action are
dismissed with prejudice.




            4/23/21                                        Gina M. Colletti
Date                                                       Clerk

                                                           s/ J. Dreckmann
                                                           (By) Deputy Clerk




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